                              UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TENNESSEE
                                    AT CHATTANOOGA

UNITED STATES OF AMERICA                         )
                                                 )
v.                                               )          No. 1:05-cr-088
                                                 )          Judge Edgar
LARRY L. DENSON                                  )


                                MEMORANDUM AND ORDER

I.       Background

         In the early morning hours of October 18, 2004 in Chattanooga, Tennessee, police officer

William Puckett received a call from his dispatcher to check out a methamphetamine laboratory

in room 136 at the Hamilton Inn, a motel located on Rossville Boulevard in Chattanooga.

Officer Puckett proceeded immediately to the motel. Room 136 is on the ground floor. The

door to the room faces the outside of the motel. Immediately upon arriving, Officer Puckett

noticed that smoke was coming out of the room’s window air conditioner. He also observed that

there was a smoky haze outside the room. Officer Puckett, who has had training in

methamphetamine labs, was hit in the face by the strong unmistakable odor of

methamphetamine. This odor was the strongest such odor encountered by Officer Puckett before

or since. He and another officer, who had arrived in a separate vehicle, knocked on the door.

Defendant Denson’s co-defendant, Christopher Payne, came to the door. More smoke came out

of the door when Payne opened it. The officers did not enter the room, but they observed

defendant Denson sitting in the room, and beckoned him to come out also. Defendant complied.

The officers patted down Denson and Payne, finding methamphetamine and coffee filters (used

in the methamphetamine manufacturing process) on Denson’s person. Denson and Payne were

arrested and placed in separate patrol cars. Officer Puckett in the meantime had called the



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Chattanooga Fire Department as well as Detective Tim Yates, who is a Chattanooga Police

Department expert on methamphetamine labs. Officer Puckett and other officers then went

through the motel and evacuated other motel guests, of which there were several. When Yates

arrived soon thereafter, he opened the door to the room. The Fire Department was standing by to

deal with a potential explosion and fire. Yates, whose primary concern at that time was safety,

secured a fan from the Fire Department. He placed this fan in the doorway to draw gases from

the room, and commenced to put on protective equipment for protection against the hazard of

meth fumes.

       The process of manufacturing methamphetamine presents serious and well-known

hazards of explosion and fire, as well as a substantial health risk from released fumes. After the

fan had operated from thirty minutes to an hour, Detective Yates and another trained officer

entered the room where they found several containers of layered methamphetamine liquid and

numerous other items used in the manufacture of methamphetamine. The manufacturing process

at this time was in the “gasing off” stage. They proceeded to dismantle the laboratory.

       Defendant Denson brings this motion to suppress, seeking to suppress the components of

the meth lab found in Room 136, because Yates failed to secure a search warrant in violation of

the Fourth Amendment.

II.    Analysis
       The Fourth Amendment states:

       The right of the people to be secure in their persons, houses, papers, and effects,
       against unreasonable searches and seizures, shall not be violated, and no Warrants
       shall issue, but upon probable cause, supported by Oath or affirmation, and
       particularly describing the place to be searched, and the persons or things to be
       seized.



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U.S. Const. amend. IV. It is a well-settled rule that under the Fourth Amendment the entrance to

a house “may not be reasonably crossed without a warrant” in the absence of exigent

circumstances or consent. Payton v. New York, 445 U.S. 573, 590, 100 S.Ct. 1371 (1980) (citing

Coolidge v. New Hampshire, 403 U.S. 443, 492, 91 S.Ct. 2022, 2051, 29 L.Ed.2d 564 (1971));

Schneckloth v. Bustamonte, 412 U.S. 218, 219, 93 S.Ct. 2041, 36 L.Ed.2d 854 (1973). The

Supreme Court has held that “searches and seizures inside a home without a warrant are

presumptively unreasonable.” Payton, 445 U.S. at 586. Hotel and motel guests’ right to privacy

in their rooms is also protected by the Fourth Amendment. See Hoffa v. United States, 385 U.S.

293, 301, 87 S.Ct. 408, 413, 17 L.Ed.2d 374 (1966); United States v. Allen, 106 F.3d 695, 698

(6th Cir.), cert. denied, 520 U.S. 1281, 117 S.Ct. 2467, 138 L.Ed.2d 223 (1997).

       In the instant action, Denson argues that the government’s search of his motel room

constituted an unlawful search in violation of the Fourth Amendment because it was justified by

neither a search warrant nor by consent. The government responds that the search was valid

under the “exigent circumstances” exception to the warrant requirement under the Fourth

Amendment.

       The Sixth Circuit recently outlined the principles of warrantless searches based upon

exigent circumstances. See United States v. Chambers, 395 F.3d 563, 565 (6th Cir. 2005). In

Chambers the Sixth Circuit stated:

       The principles governing warrantless searches based on ‘exigent circumstances’
       are fairly well settled. . . . The first and most important principle is that searches
       must ordinarily be cleared in advance as a part of the judicial process. . . . ‘Thus
       the most basic constitutional rule in this area is that ‘searches conducted outside
       the judicial process, without prior approval by judge or magistrate, are per se
       unreasonable under the Fourth Amendment–subject only to a few specifically
       established and well-delineated exceptions.’ The exceptions are ‘jealously and
       carefully drawn,’ and there must be a ‘showing by those who seek exemption . . .

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       that the exigencies of the situation made that course imperative.’ ‘[T]he burden is
       on those seeking the exemption to show the need for it.’ . . . In order for a
       warrantless search to pass muster, probable cause must exist, but ‘no amount of
       probable cause can justify a warrantless seizure.’ . . . because, in addition, the
       cause of the search must be based on an ‘emergency’ and hence, ‘inadvertent’ or
       unanticipated. Under these principles, officers must seek a warrant based on
       probable cause when they believe in advance they will find contraband or
       evidence of a crime. . . . When there is neither a warrant nor consent, courts will
       only permit a search or seizure to stand under extraordinary circumstances.

Id. (quoting Coolidge, 403 U.S. at 454-55). The Sixth Circuit has identified four categories of

possible justifications for warrantless entries: “(1) hot pursuit of a fleeing felon, (2) imminent

destruction of evidence, (3) the need to prevent a suspect’s escape, and (4) a risk of danger to the

police or others.” United States v. Rohrig, 98 F.3d 1506, 1515 (6th Cir. 1996). In cases finding

the existence of “exigent circumstances,” there uniformly exists a “need for prompt action by

government personnel” and “delay to secure a warrant would be unacceptable under the

circumstances.” Id. at 1517.

       In Rohrig the Sixth Circuit addressed whether extremely loud music disturbing neighbors

in the middle of the night justified police officers’ warrantless entry into a home to determine the

source of the noise. While there, the officers discovered marijuana plants growing in the

basement. Id. at 1509. In finding that exigent circumstances existed for the warrantless search

and seizure of marijuana, the Court explained:

       Although we acknowledge that the facts of this case do not fit neatly into any of
       the existing categories of “exigent circumstances,” we are nonetheless convinced
       that these existing categories do not occupy the entire field of situations in which
       a warrantless entry may be justified. As an initial matter, the Fourth
       Amendment’s broad language of “reasonableness” is flatly at odds with any claim
       of a fixed and immutable list of established exigencies. Moreover, such a claim
       would ignore the case-by-case and fact-specific development of the existing
       categories of exigent circumstances.

Id. at 1519.

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       As acknowledged in Chambers, officers must first establish probable cause to conduct a

warrantless search. 395 F.3d at 565. In this case, Officer Puckett testified that he smelled the

unmistakable odor of methamphetamine and that it was the strongest such smell he had ever

experienced. Officer Puckett also testified that he had received training on methamphetamine

processing and that he had experience in dealing with meth labs. Officer Puckett observed

fumes emanating from the outside window air conditioning unit of the motel room Denson and

Payne were occupying. The Sixth Circuit has determined that an odor of narcotics can provide

probable cause to believe that narcotics are present. See, e.g., United States v. Littleton, 15 Fed.

Appx. 189, 193 (6th Cir. 2001) (finding that an officer’s smelling of marijuana in an automobile

constituted probable cause to believe there was marijuana present) (citing United States v.

Garza, 10 F.3d 1241, 1246 (6th Cir. 1993)). Based on Officer Puckett’s smelling the

unmistakable odor of methamphetamine and his training to recognize the smell, along with

visible smoke and fumes emanating from the room, and the finding of methamphetamine and

coffee filters on defendant’s person, the Court concludes that probable cause existed to believe

that methamphetamine was illegally being processed in Denson’s motel room.

       The next question to address is whether exigent circumstances existed justifying the

warrantless search of the room. The dangers of methamphetamine are well-established. As

noted by the Sixth Circuit and addressed by the House of Representatives, methamphetamine:

“poses serious dangers to both human life and to the environment . . . these chemicals and

substances are utilized in a manufacturing process that is unstable, volatile, and highly

combustible. Even small amounts of these chemicals, when mixed improperly, can cause

explosions and fires.” United States v. Layne, 324 F.3d 464, 468-69 (6th Cir. 2003) (quoting


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H.R. Rep. 106-878, pt.1 at *22 (Sept. 21, 2000)); see also, U.S. v. Dick, 173 F.Supp.2d 765, 769

(E.D. Tenn. 2001).

        In addition, several other federal courts have determined that the dangers associated with

the manufacture of methamphetamine or other narcotics justify a warrantless search of premises

suspected of being used to manufacture such substances. See e.g., United States v. Walsh, 299

F.3d 729, 732-33 (8th Cir. 2002); United States v. Erb, 596 F.2d 412, 417 (10th Cir. 1979); United

States v. Brock, 667 F.2d 1311 (9th Cir. 1982); United States v. Wilson, 865 F.2d 215, 217 (9th

Cir. 1989); United States v. Williams, 630 F.2d 1322, 1327 (9th Cir. 1980); United States v.

Echegoyen, 799 F.2d 1271, 1278-79 (9th Cir. 1986). In Brock the Ninth Circuit affirmed the

validity of a warrantless search of a suspected methamphetamine lab noting that

        [t]he agents knew that the parties in the motor home had been ‘cooking’
        chemicals and that [the defendant] had rushed out of the motor home choking
        from the fumes. As the district court found, these facts, combined with the
        agents’ knowledge of the explosiveness of the chemicals used in making
        methamphetamine, justified the agents’ belief that the motor home had to be
        searched to avoid a possible explosion.

667 F.3d at 1318. In Echegoyen the Ninth Circuit found that “[t]he record in this case

establishes that the existence of an explosive fire hazard and the possibility of illegal drug

activity were exigent circumstances that justified the initial warrantless entry.” 799 F.2d at

1278.

        In the instant action the Court concludes that exigent circumstances existed that justified

the warrantless entry and search of Denson’s motel room. Officer Puckett smelled a very strong

odor of methamphetamine processing. It was the strongest such odor he has ever smelled. In

addition, he has received training on how to identify such odors. Officer Puckett’s and Detective

Yates’ training has also taught them that methamphetamine is highly dangerous because of the

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explosive and volatile nature of the chemicals involved. Another factor adding to the exigency

of the situation is the fact that Denson was participating in dangerous meth processing in a

densely populated motel unit. Officer Puckett called the Fire Department and evacuated the

adjacent motel rooms due to the danger posed by the meth processing. Detective Yates acted

quickly to air out the fumes in the motel and to dismantle the processing laboratory because of

the safety threats it posed. He testified that his main concern at the time was safety. Based on

his expertise, Detective Yates believed the defendants were in the phase known as “gasing off”

when Officer Puckett apprehended them. He also testified that “gasing off” is one of the most

dangerous phases of meth processing. If the officers had attempted to obtain a warrant for their

search, it could have taken hours, leaving the entire motel, its guests, and valuable personal

property at risk. This was an unacceptable course of action. Thus, based on the specific factual

circumstances and the immediate danger to life and property present in this action, the Court

concludes that exigent circumstances justified the warrantless intrusion and search of Denson’s

motel room. Defendant’s motion to suppress is DENIED.

III.   Conclusion

       For the reasons expressed herein, defendant’s motion to suppress [Court Doc. No. 26] is

DENIED.

       SO ORDERED.

       ENTER this 2nd day of February, 2006.

                                                    /s/ R. Allan Edgar
                                                   R. ALLAN EDGAR
                                            UNITED STATES DISTRICT JUDGE




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